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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                            CASE NO. 8:12-CR-205-T-17MAP

ANGEL VILLANUEVA .

_____________________________/

                            FINAL JUDGMENT OF FORFEITURE

      THIS CAUSE comes before the Court upon the filing of the Motion by the United
States for a Final Judgment of Forfeiture (Dkt. 269), pursuant to 21 U.S.C. § 853(n)(7), as
incorporated by 18 U.S.C.§ 2323(b), and Fed. R. Crim. P. 32.2(c)(2) for the following assets:
               a. One Israel weapon IND-IWI (Israel Military IND-IMI);
               b. One Zephyr Woodlander II SB .12 caliber shotgun;
               c. One round Winchester-Western .45 caliber ammunition;
               and

               d. One round Speer .50 caliber ammunition.


      On November 10, 2014, the Court entered a Preliminary Order of Forfeiture for the
assets described above, pursuant to 21 U.S.C § 853(a)(2), 18 U.S.C. § 924(d)(1), and 28
U.S.C. § 2461(c). Doc. 251.


      The Court further finds that in accordance with the provisions of 21 U.S.C. § 853(n)
and Fed. R. Crim. P. 32.2(b)(6)(C), the United States published notice of the forfeiture
and of its intent to dispose of the assets on the official government website,
www.forfeiture.gov, from November 13, 2014 through December 12, 2014. Doc. 263.
The publication gave notice to all third parties with a legal interest in the assets to file with
the Office of the Clerk, United States District Court, Middle District of Florida, Sam Gibbons
Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a petition
to adjudicate their interest within sixty (60) days of the first date of publication. Accordingly,
the final date for filing a petition or claiming an interest in the assets was April 1, 2014.
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      In addition, Kevin Stites was provided direct written notice of the forfeiture and failed
to file a claim within the time prescribed by law.


      The Court further finds that no person or entity other than the defendant, whose
interest was forfeited to the United States in the Preliminary Order of Forfeiture, and Kevin
Stites is known to have an interest in the assets. No third party has filed a petition or
claimed an interest in the assets, and the time for filing a petition has expired. Accordingly,
it is hereby


       ORDERED, ADJUDGED and DECREED that for good cause shown, the United
States’ motion is granted.


       It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. § 853(n)(7)
and Fed. R. Crim. P. 32.2(c)(2), all right, title and interest in the assets are CONDEMNED
and FORFEITED to the United States for disposition according to law.


       Clear title to the asset is now vested in the United States of America.


      DONE and ORDERED in Chambers in Tampa, Florida, on this 14th day
of January, 2015.




Copies to:
James A. Muench, AUSA
Counsel of Record




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